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     Attorneys for the United States of America
6
                                  UNITED STATES DISTRICT COURT
7                                      DISTRICT OF NEVADA

8    UNITED STATES OF AMERICA,                          Case No. 2:21-mj-333-BNW

9                    Plaintiff,                         Stipulation to Continue the Preliminary
                                                        Hearing (Fourth Request)
10          v.

11   BREON DANTE MIMS,

12                   Defendant.

13

14          It is hereby stipulated and agreed, by and between Christopher Chiou, Acting United

15   States Attorney, through Jim W. Fang, Assistant United States Attorney, and Jawara

16   Griffin, Assistant Federal Public Defender, counsel for defendant Breon Dante Mims, that

17   the preliminary hearing in the above-captioned matter, previously scheduled for November

18   16, 2021, at 4:00 p.m., be vacated and continued until a time convenient to the Court, but

19   no earlier than January 18, 2022.

20          1.      Federal Rule of Criminal Procedure Rule 5.1(d) provides that “[w]ith the

21   defendant’s consent and upon a showing of good cause—taking into account the public

22   interest in the prompt disposition of criminal cases—a magistrate judge may extend the time

23   limits [for preliminary hearings] one or more times.” Here, the parties desire to explore the

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 1   potential to resolve this matter before defendant is formally charged by a criminal

 2   indictment.

 3          2.     In that regard, the government has provided defense counsel with limited

 4   Rule 16 discovery in order to facilitate pre-indictment resolution and has made a plea offer

 5   to defendant. Defense counsel has requested more time to review the discovery and discuss

 6   the plea offer with his client to decide whether to accept the offer or procced to a

 7   preliminary hearing or indictment, which the government consents.

 8          3.     This continuance is not sought for the purposes of delay, but to allow defense

 9   counsel an opportunity to examine the merits of this case before a potential resolution can

10   be reached between the parties.

11          4.     Defendant is not in custody and agrees to the continuance.

12          5.     Denial of this request could result in a miscarriage of justice, and the ends of

13   justice served by granting this request outweigh the best interest of the public and the

14   defendants in a speedy trial.

15          6.     The additional time requested by this stipulation is excludable in computing

16   the time within which indictment must be filed pursuant to the Speedy Trial Act, 18 U.S.C.

17   § 3161(b), and considering the factors under 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv).

18          DATED this 15th day of November, 2021.

19   CHRISTOPHER CHIOU
     Acting United States Attorney
20
     s/Jim W. Fang                                     s/ Jawara Griffin
21   JIM W. FANG                                       JAWARA GRIFFIN
     Assistant United States Attorney                  Assistant Federal Public Defender
22   Counsel for the United States                     Counsel for Defendant
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 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2
     UNITED STATES OF AMERICA,
 3
                    Plaintiff,
 4
            v.                                           Case No. 2:21-mj-333-BNW
 5
     BREON DANTE MIMS,                                   FINDINGS AND ORDER
 6
                    Defendant.
 7

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 9          Based on the pending Stipulation between the defense and the government, and good

10   cause appearing therefore, the Court hereby finds that:

11          1.      The parties desire to continue the preliminary hearing to facilitate pre-

12   indictment resolution, and the government has provided defense counsel with limited Rule

13   16 discovery for that purpose. Defense counsel will need additional time to review the

14   discovery and discuss the case with his client prior to a preliminary hearing or indictment.

15   The Court finds good cause to continue the hearing to allow the parties to reach a pre-

16   indictment resolution.

17          2.      Both counsel for defendant and counsel for the government agree to the

18   continuance.

19          3.      Defendant is not in custody and agrees to the continuance.

20          4.      The continuance is not sought for the purposes of delay, but to allow the

21   parties to reach a potential resolution before the government moves forward with further

22   prosecution.

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 1          5.     Denial of this request could result in a miscarriage of justice, and the ends of

 2   justice served by granting this request outweigh the best interest of the public and the

 3   defendants in a speedy trial.

 4          6.     The additional time requested by this stipulation is excludable in computing

 5   the time within which indictment must be filed pursuant to the Speedy Trial Act, 18 U.S.C.

 6   § 3161(b), and considering the factors under 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv).

 7          THEREFORE, IT IS HEREBY ORDERED that the preliminary hearing in the

 8   above-captioned matter currently scheduled for November 16, 2021, at 4:00 p.m. be vacated

 9                       January 25, 2022
     and continued to _________________________,    3:30 p.m.
                                                 at _______.

10                     15th day of November, 2021.
            DATED this _____

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12                                             _______________________________________
                                                HONORABLE BRENDA WEKSLER
13                                              UNITED STATES MAGISTRATE JUDGE

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